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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

JORGE DE LA TORRE,
                                                   Case No. 22-cv-12516
                                                   Paul D. Borman
                     Plaintiffs,                   United States District Judge

v.

IQ DATA INTERNATIONAL INC., et al.,

               Defendants.
___________________________________/


     ORDER DIRECTING PLAINTIFF TO SECURE LOCAL COUNSEL


      On October 20, 2022, Marwan R. Daher filed a Notice of Appearance on

behalf of Plaintiff Jorge De La Torre (ECF No. 1). Marwan Daher is an attorney with

Sulaiman Law Group, Ltd. in Lombard, Illinois. (ECF No. 1, PageID 23). Four other

lawyers from the same firm filed appearances on October 20, 2022 (ECF Nos. 3, 4,

5 & 6).

      The Court notes that Eastern District of Michigan Local Rule 83.20(f), Local

Counsel, provides:

      A member of the bar of this court who appears as attorney of record in
      the district court and is not an active member of the State Bar of
      Michigan must specify as local counsel a member of the bar of this
      court with an office in the district. Local counsel must enter an
      appearance and have the authority and responsibility to conduct the

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      case if non-local counsel does not do so. On application, the Court may
      relieve an attorney who is not an active member of the State Bar of
      Michigan of the obligation to specify local counsel.

E.D. Mich. L.R. 83.20(f)(1). In addition, “[l]ocal counsel must attend each scheduled

appearance on the case unless the Court, on its own motion or on motion or request

of a party, dispenses with the requirement.” Id. at (f)(2).

      Accordingly, the Court ORDERS Plaintiff to secure local counsel pursuant

to E.D. Mich. LR 83.20(f), and local counsel must enter an appearance in this case

by November 1, 2022.



IT IS SO ORDERED.


      Dated: October 24, 2022                  s/Paul D. Borman
                                               Paul D. Borman
                                               United States District Judge




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